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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 1:21-CR-00123-PLF
v.
: VIOLATIONS:
VITALI GOSSJANKOWSKI, : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant.

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia, VITALI

GOSSJANKOWSKI, committed and attempted to commit an act to obstruct, impede, and interfere
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with a law enforcement officer, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia,
VITALI GOSSJANKOWSKI, attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI, using a deadly or dangerous weapon, that is, a stun gun, did forcibly assault,
resist, oppose, impede, intimidate, and interfere with, an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), that is, M.M., an officer from the United States Capitol Police Department, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.
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(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI did knowingly enter and remain in a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a stun gun.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)C)(A))
COUNT FIVE

On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stun gun.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI willfully and knowingly engaged in disorderly and disruptive conduct within
the United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
